510 U.S. 1171
    Holladayv.Alabama.
    No. 93-7491.
    Supreme Court of United States.
    February 28, 1994.
    
      Appeal from the Ct. Crim. App. Ala.
      Certiorari denied. Reported below: No. 93-6817, 620 So. 2d 152; No. 93-6846, 263 Ga. 214, 430 S. E. 2d 576; No. 93-6974, 610 So. 2d 1288; No. 93-7026, 4 F. 3d 1446; No. 93-7051, 624 So. 2d 1138; No. 93-7158, 627 So. 2d 874; No. 93-7323, 125 Idaho 530, 873 P. 2d 784; No. 93-7336, 868 S. W. 2d 705; No. 93-7373, 5 F. 3d 93; No. 93-7475, 5 F. 3d 758; 93-7491, 629 So. 2d 673.
      JUSTICE BLACKMUN, dissenting.
    
    
      1
      Adhering to my view that the death penalty cannot be imposed fairly within the constraints of our Constitution, see my dissent in Callins v. Collins, ante, p. 1143, I would grant the petitions for writs of certiorari and vacate the death sentences in these cases.
    
    